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VIA ECF

The Honorable Arun Subramanian
United States District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Courtroom 15A
New York, NY 10007-1312

Re:    United States et al. v. Live Nation Entertainment, Inc. et al.; 1:24-cv-03973-AS-SLC

Dear Judge Subramanian:

        During the initial pretrial conference on June 27, 2024, Your Honor invited Defendants to
file “a letter to the Court identifying the issues as to which [Defendants] would contemplate
moving to dismiss” Plaintiffs’ Complaint. June 27, 2024 Hr’g Tr. 31:9–32:11. This letter responds
to that invitation. First, Plaintiffs’ claim that Defendants have created an “unlawful tying
arrangement concerning the use of large amphitheaters and artist promotions markets in violation
of Sherman Act § 1,” Compl. ¶ 81, should be dismissed because in substance it is tantamount to a
claim that Defendants have a duty to deal with rival concert promoters, which is an antitrust theory
foreclosed by Supreme Court precedent. Second, each of the state-law claims is deficient and
should be dismissed for multiple reasons, including failure to adequately allege a prima facie case
under the relevant statutes and because the claims are time-barred.

I.     PLAINTIFFS’ TYING CLAIM FAILS

        The thrust of Plaintiffs’ tying claim is that Live Nation allegedly ties access to its
amphitheaters (the tying product) to the provision of Live Nation’s concert promotion services (the
tied product). See Compl. ¶ 228. Tying is a distinct antitrust offense requiring a specific type of
conditional dealing. See Kaufman v. Time Warner, 836 F.3d 137, 141 (2d Cir. 2016). Yet, for
purposes of this “amphitheater-to-concert-promotions” tying claim, the Complaint muddles the
roles of the various participants in the live entertainment space. There are suggestions that artists
themselves procure amphitheater access, see, e.g., Compl. ¶ 19 (figure), which they do not. Other
allegations correctly state that while artists ultimately choose the venues they play, id. ¶ 25, a
different set of actors—concert promoters—“arrange and coordinate artist performances at
venues,” id. ¶ 178. In other words, artists contract with promoters, and promoters contract with
venues.

        The allegation that promoters themselves are the ones who deal with venues is what drives
the logic of the “tying” claim. According to the Complaint, Live Nation allegedly “exclude[s]
rival promoters” by not allowing them to book shows at its amphitheaters. Id. ¶¶ 111–112. In
other words, while artists may wish to direct their promoter of choice to contract with Live Nation-
owned amphitheaters, Live Nation refuses to rent its venues to rival promoters. Id. ¶¶ 111, 191.

         These allegations describe a refusal to deal. Live Nation refuses to rent its amphitheaters
to other promoters, thereby securing a competitive advantage in the promotions market. The
conduct is therefore subject to the principle that “as a general matter, the Sherman Act does not
restrict the long recognized right of a [defendant] engaged in an entirely private business, freely to

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exercise his own independent discretion as to parties with whom he will deal.” Verizon Commc’ns,
Inc. v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 408 (2004) (quotation omitted). “Even
a monopolist generally has no duty to share . . . its intellectual or physical property with a rival.”
Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1074 (10th Cir. 2013). Accordingly, Live Nation
has no obligation “to extend a helping hand to new entrants [or] help [rivals] survive or expand.”
Olympia Equip. Leasing Co. v. W. Union Tel. Co., 797 F.2d 370, 376 (7th Cir. 1986) (citation
omitted). The unimpeachable freedom to refuse to deal with rivals (in all but the rarest
circumstances, which are not even arguably present in this case) rests on bedrock antitrust
principles: “[c]ompelling . . . firms to share the source of their advantage is in some tension with
the underlying purpose of antitrust law, since it may lessen the incentive for the [defendant], the
rival, or both to invest in those economically beneficial facilities.” Trinko, 540 U.S. at 407–08.

         Nothing about that analysis changes just because Plaintiffs have challenged Live Nation’s
refusal to deal with rival promoters in the guise of a tying claim, rather than a Section 2 claim
explicitly framed as an unlawful refusal to deal. This effort is frequently made, but courts routinely
reject it when, in substance, the plaintiff is asking the defendant to be forced to deal with its rivals.
See, e.g., Rebotix Repair LLC v. Intuitive Surgical, Inc., No. 8:20-CV-2274, 2021 WL 1227593,
at *8 (M.D. Fla. Mar. 8, 2021) (“tying” claim which would require defendant to deal with its rivals
was “in essence a refusal to deal claim”). In fact, one court rejected this tactic in the context of a
claim essentially indistinguishable from the one asserted here—a tying claim, against Live Nation,
for preventing a rival concert promoter from booking shows at Live Nation’s amphitheaters. See
It’s My Party, Inc. v. Live Nation, Inc., 88 F. Supp. 3d 475, 501 (D. Md. 2015) (“Plaintiffs initially
characterize this as a tying claim—and Live Nation argues it is actually a claim for refusal to deal.
I will consider it as a refusal to deal claim.”), aff’d, 811 F.3d 676 (4th Cir. 2016).

II.     THE STATE-LAW CLAIMS FAIL

        Of the 30 State Plaintiffs (including the District of Columbia) that joined the Complaint,
22 of them assert separate claims under their own state laws. These claims are threadbare and
conclusory: they merely incorporate by reference all of the preceding allegations in the Complaint,
cite the state laws Defendants supposedly violated, and request relief. See Compl. ¶¶ 249–370.
The State Plaintiffs do not allege the elements of each state-law claim, and they do not say what
conduct allegedly violates the state laws in question. See, e.g., id. ¶ 280 (alleging without detail
that “Defendants’ acts alleged herein violate Section 3 of the Illinois Antitrust Act, 740 ILCS
10/3(1)-(4)”). And the State Plaintiffs that seek damages on behalf of their citizens do not even
state what those alleged damages are or why the State Plaintiffs are entitled to them. See id. ¶¶
249–370.

         The present articulation of the state-law claims is deficient as a matter of law. First, none
of these claims meets the bare minimum of Rule 8’s requirements: “enough facts to state a claim
to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). As
the Supreme Court has explained, “a plaintiff’s obligation to provide the ‘grounds’ of his
‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of
the elements of a cause of action will not do.” Id. at 555. Here, the State Plaintiffs’ allegations
fall short of even the level of detail the Supreme Court rejected as insufficient in Twombly and
Iqbal. At least in those cases, the plaintiffs provided “[t]hreadbare recitals of the elements of
[their] cause of action.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Here, the State Plaintiffs do

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not even do that, omitting the elements of their causes of action altogether—to say nothing of their
failure to allege what facts form the bases of their claims. See Compl. ¶¶ 249–370; cf. Coakley v.
Jaffe, 49 F. Supp. 2d 615, 625 (S.D.N.Y. 1999) (such “shotgun pleading” demonstrates “utter
disrespect for Rule 8”), aff’d, 234 F.3d 1261 (2d Cir. 2000).

        Additionally, the State Plaintiffs that assert claims for damages in their parens patriae
capacities do not adequately plead their entitlement to that remedy. By definition, parens patriae
claims must be premised on underlying harm to the state’s citizens. See Parens Patriae, Black’s
Law Dictionary (12th ed. 2024) (defining parens patriae as a “doctrine by which a government
has standing to prosecute a lawsuit on behalf of [its] citizen[s]”). Such claims, therefore, require
sufficient allegations to plausibly conclude that citizens were harmed. See, e.g., Ark. Code § 4-
75-212(b) (parens patriae action requires proof of “injury, directly or indirectly sustained by”
“natural persons residing in this state” “because of any violation” of the law). But the State
Plaintiffs do not allege any details about the injuries or harm incurred—including, for example,
what kind of harm was suffered, who suffered that harm, and whether the injured parties were
“natural persons residing in [the Plaintiff’s] state” (as multiple statutes require). See, e.g., Compl.
¶¶ 249–52. And the State Plaintiffs’ initial disclosures—which merely clarify that all State
Plaintiffs seeking monetary damages from Defendants in this action do so in their parens patriae
capacities, without providing any detail about what those alleged damages are or how they
occurred—do nothing to mitigate their pleading failures. The State Plaintiffs’ parens patriae
claims fail as a matter of law.1

        Finally, the state-law claims fail for a separate reason: they are time-barred, at least to some
degree. Although the precise conduct on which the State Plaintiffs base their claims is impossible
to know (given the pleading failures described above), much of the conduct alleged in the
Complaint dates back years. For example, the Complaint discusses the Ticketmaster merger in
2010, Compl. ¶¶ 65–66, the acquisition of promoters in 2016 and 2017, id. ¶¶ 120–33, and
correspondence with Oak View Group in 2016, id. ¶ 73. Under every State Plaintiffs’ relevant
statute of limitations—the longest of which is six years—these claims are untimely. See Appendix
A. Furthermore, the doctrine of laches “protect[s] defendants against unreasonable, prejudicial
delay in commencing suit.” Zuckerman v. Metro. Museum of Art, 928 F.3d 186, 193 (2d Cir.
2019). The prejudice of allowing State Plaintiffs’ claims to proceed after a years-long delay is
obvious, especially given that Plaintiffs seek the divestiture of Ticketmaster—a merger that was
completed a decade-and-a-half ago. See New York v. Facebook, Inc., 549 F. Supp. 3d 6, 35 (D.D.C.
2021) (“[Divestiture], if ordered well after the merger has closed, will usually prejudice the
defendant.”), aff’d, 66 F.4th 288 (D.C. Cir. 2023). The Court should dismiss the state-law claims
to the extent that they are untimely on their face.




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  Some states’ antitrust laws also require a plaintiff to specifically plead that the effects of the
alleged anticompetitive conduct were felt in their state. See, e.g., Minn. Stat. § 325D.54; Or. Rev.
Stat. § 646.715(2). These State Plaintiffs do not allege any intrastate effects, and their claims
should be dismissed. See, e.g., Miami Prods. & Chem. Co. v. Olin Corp., 546 F. Supp. 3d 223,
242–44 (W.D.N.Y. 2021) (dismissing state-law claims for failure to allege intrastate effects).


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Dated: July 17, 2024

Respectfully submitted,

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